            Case: 22-10411    Document: 00516555405 Page: 1 Date Filed: 11/23/2022
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     FILED
 November 23, 2022
  KAREN MITCHELL           United States Court of Appeals
CLERK, U.S. DISTRICT
      COURT
                                for the Fifth Circuit
                                                                                      United States Court of Appeals
                                                                                               Fifth Circuit
                                              No. 22-10411
                                            Summary Calendar                                 FILED
                                                                                      November 1, 2022
                                                                                        Lyle W. Cayce
               United States of America,                                                     Clerk

                                                                          Plaintiff—Appellee,

                                                   versus

               Deante Marqukeist Lawrence,

                                                                       Defendant—Appellant.


                               Appeal from the United States District Court
                                   for the Northern District of Texas
                                        USDC No. 4:21-CR-212-1


               Before King, Higginson, and Willett, Circuit Judges.
               Per Curiam:*
                       The attorney appointed to represent Deante Marqukeist Lawrence
               has moved for leave to withdraw and has filed a brief in accordance with
               Anders v. California, 386 U.S. 738 (1967), and United States v. Flores, 632 F.3d
               229 (5th Cir. 2011). Lawrence has not filed a response. We have reviewed


                       *
                        Pursuant to 5th Circuit Rule 47.5, the court has determined that this
               opinion should not be published and is not precedent except under the limited
               circumstances set forth in 5th Circuit Rule 47.5.4.
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                                     No. 22-10411


     counsel’s brief and the relevant portions of the record reflected therein. We
     concur with counsel’s assessment that the appeal presents no nonfrivolous
     issue for appellate review. Accordingly, counsel’s motion for leave to
     withdraw is GRANTED, counsel is excused from further responsibilities
     herein, and the APPEAL IS DISMISSED. See 5th Cir. R. 42.2.
            There is, however, a clerical error in the judgment. Lawrence was
     convicted under 18 U.S.C. § 922(g)(1) and sentenced under 18 U.S.C.
     § 924(e)(1), but the judgment incorrectly identifies the statutory penalty
     provision as § 924(a)(2). Accordingly, in accordance with Federal Rule of
     Criminal Procedure 36, we REMAND for the limited purpose of correcting
     the clerical error in the written judgment. See United States v. Powell, 354
     F.3d 362, 371-72 (5th Cir. 2003).




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